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                                      UNITED STATES DISTRICT COURT
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                                             DISTRICT OF NEVADA
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      UNITED STATES OF AMERICA,
4                                                             Case No. 2:13–cr–39–JAD–VCF
                             Plaintiff,
5     vs.                                                     ORDER
6
      RAMON DESAGE; et.al.,
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                             Defendants.
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9             Before the court are Desage’s motion for production of certain tax returns (ECF No. 218), the
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     Government’s response (ECF No. 219), and Desage’s reply (ECF No. 222).
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              In his motion, Desage requests the tax returns and IRS information for two of his alleged victims,
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     Jacob (Yakob) Heftez and Herb Frey. (ECF No. 218) He argues that this information is exculpatory
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     Brady material and contains Giglio impeachment evidence. (Id.) The Government contends that Desage
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     has not met the Brady materiality standard so as to trigger the Government’s obligation to disclose the
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     tax returns and IRS records. (ECF No. 219)
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              Desage also argues that “[a]t the very least, the Government must produce these items for in
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18   camera review by the Court.” (ECF No. 218) The Ninth Circuit has “encouraged the government to

19   submit close questions regarding materiality to the court for in camera review, [although] the

20   government is not required to do so.” United States v. Lucas, 841 F.3d 796, 807 (9th Cir. 2016). Here,

21   the question of materiality appears close enough to justify in camera review. Without reviewing
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     Heftez’s and Fey’s tax returns and IRS information, the court is unable to determine if any of the
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     requested information is material.1
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              ACCORDINGLY, and for good cause shown,

4             IT IS HEREBY ORDERED that on or before March 2, 2017, the Government deliver for in camera

5    inspection the tax returns and IRS records for Jacob Heftez and Herb Fey.

6             IT IS SO ORDERED.
7             DATED this 23rd day of February, 2017.
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10
                                                                               CAM FERENBACH
11                                                                             UNITED STATES MAGISTRATE JUDGE

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       The court will address the appropriate standard for materiality under Brady as part of its order after it has reviewed the
25   relevant records.

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